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                                          UNITED STATE S D ISTR ICT COURT
                                          SOUTHERN D ISTR ICT OF FLORIDA

                                        CASE NO . 23-CR-60196
USA

                                                                                                        DR
                                         Plaintiff ts),
          VS .                                                                        Apr 18, 2024
RobertZildjianM ondragon
                                         Defendant (s).                                                         Fort Lauderdale
                                                      /
                                               RELEA SE OF EXHIBITS

               The undersigned hereby acknowledges receipt of exhibit ts)
          listed below for the following reason ts):

                           Guns, jewelry, currency, drugs, explosives
                           Item Nos.

                           Oversize records (larger than 10': x 12,' x 15'')
                           Item Nos .

                           stored by Records section in :                         Msams        FzL                wes

                   /       other (Explain): Government'
                                                      sPaperExhibits


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                 Attachments                         Signature :                              wz
                  (Exhibit list, Order of                                     '
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          ORIGINAL - Court File
          cc: Records Section
              Courtroom Deputy
              Counsel of Record
